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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                          Case No: 21-11045-lgb
         CERTA DOSE, INC.,                                      Chapter 11

                                             Debtor.
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         On July 15, 2021, the Court entered a Scheduling Order in this case which among other
terms and conditions set a discovery cutoff date of August 2, 2021 at 5:00 pm (“Scheduling
Order”) docketed at ECF No. 64.

It is hereby ORDERED as follows:

 1. The debtor is obligated to respond to the document discovery requests served by COPIC by
     no later than 9:00 am on August 23, 2021 (the “Deadline”) and shall produce all responsive
     documents by such Deadline. The debtor is obligated to produce responsive documents on a
     rolling basis from now to the Deadline. To the extent any documents are not produced by
     the debtor by the Deadline, such documents may not be used by any party in connection
     with any deposition related to COPIC’s Motion pursuant to 28 U.S.C. § 1412 and Fed. R.
     Bankr. P. 1014(a)(2) to Transfer Venue to the United States Bankruptcy Court for the
     District of Colorado docketed at ECF No. 36 (the “Motion”) or the evidentiary hearing with
     respect to the Motion.
 2. Except as set forth herein the terms and conditions of the Scheduling Order shall remain
     unchanged and in full force and effect.

Dated: New York, New York
       August 11, 2021
                                                           /s/ Lisa G. Beckerman__
                                                           HON. LISA G. BECKERMAN
                                                           U.S. BANKRUPTCY JUDGE
